Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 1 of 26




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

CIVIL NO. ________________________

KRYSTAL GRAY, Individually and
On Behalf of All Others Similarly Situated,

Plaintiff,

V.

DELTA COUNTY MEMORIAL
HOSPITAL DISTRICT,

Defendant.

JURY TRIAL DEMANDED



PLAINTIFF’S ORIGINAL COMPLAINT, COLLECTIVE ACTION, CLASS ACTION &
                          JURY DEMAND



       1.      Plaintiff Krystal Gray (“Plaintiff”) brings this class and collective action on behalf

of herself and other similarly situated individuals who have worked for Delta County Memorial

Hospital District (“Defendant” or “DCMH”) as nurses, nurse aides, nurse assistants, technicians,

and other non-exempt hourly employees1 who were subject to an automatic time deduction for

meal periods, missed rest breaks, and/or work performed while off-the-clock, at any time

beginning six years before the filing of this complaint until resolution of this action. Throughout

the relevant time period of this action, Plaintiff and similarly situated nursing staff have been

denied payment for all hours worked, including overtime, were subject to improper deductions

from wages, and were denied meal and rest periods in compliance with Colorado law. This case




1
  While the precise job titles may differ, Plaintiff hereinafter uses the term “nursing staff”
interchangeably in referencing any of these similarly situated employees.


                                                -1-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 2 of 26




implicates the longstanding policy of DCMH, which fails to properly compensate non-exempt

employees for work during meal periods and for work performed while “off-the-clock.”

       2.      An employer is not required to pay employees for meal periods if the employer can

satisfy its burden of demonstrating the employee received a bona fide meal period which primarily

benefits the employee. Defendant does not provide bona fide meal periods for its nursing staff who

are responsible for patient care. Nursing staff who work for Defendant are required to remain

responsible for patient care throughout their shift and are expected to perform duties while “off-

the-clock.” Instead of making nursing staff clock out for their meal periods then clock back in at

the end of a meal period, Defendant assumes nurses were able to find a 30-minute block of time

to enjoy a bona fide meal period. In fact, this does not typically occur. Nonetheless, Defendant

deducts 30 minutes from nurses’ shifts for a meal period, when in fact nurses remain on duty and

are continuously subject to interruption during that time. Defendant instituted policies and

practices that result in nurses being responsible for patient care throughout their shift, even when

they attempt to have a bite to eat. Similarly, nursing staff were also required to work through, and

are on call during, their rest breaks on a regular basis.

       3.      Defendant’s policies and practices result in nurses being denied wages due under

the Fair Labor Standards Act and Colorado law. Under these policies and practices, non-exempt

nurses involved in patient care were not completely relieved of duties during meal periods and rest
breaks, and were denied pay for those on-duty meal periods and rest breaks. Defendant continues

to require nurses responsible for direct patient care to remain on duty and subject to interruptions

during meal periods and rest breaks.

       4.      Defendant violated the FLSA and Colorado state law by knowingly and willfully

permitting Plaintiff, Class, and Collective members to perform work and/or remain on duty during

their meal periods and rest breaks, subjecting them to interruptions during their meal periods and

rest breaks. Plaintiff, Class, and Collective members also performed work before clocking in and

after clocking out for which they were not compensated. Defendant had notice that Plaintiff, Class,
and Collective members expected to be paid for their work on an hourly basis. Defendant received


                                                  -2-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 3 of 26




value of Plaintiff, Class, and Collective members’ work performed during their meal periods, rest

breaks, and while “off-the-clock” without compensating them for their services. Defendant

willfully, deliberately, and voluntarily failed to pay Plaintiff and Collective and Class members

for work performed.

       5.      Defendant’s conduct violated and continues to violate the FLSA because of the

mandate that non-exempt employees, such as Plaintiff and the Collective members, be paid at one

and one-half times their regular rate of pay for all hours worked in excess of forty within a single

workweek. See 29 U.S.C. § 207(a).

       6.      Defendant’s conduct violated and continues to violate Colorado state law because

Colorado Wage Claim Act, C.R.S.A. § 8-4-101 and Colorado Minimum Wage Order No. 35

requires, for hourly employees like Plaintiff and the Class members, that hours worked in excess

of forty per week be paid at a rate of one and one-half times the hourly rate for the number of hours

worked in excess of forty. Defendant’s conduct further violated the CWCA and Minimum Wage

Order because Plaintiff and Class members are required to be compensated for all hours worked

during weeks in which they worked fewer that forty hours. Defendant’s conduct further violated

and continues to violate Colorado meal and rest period statutes, and Colorado’s requirement that

all wages be paid upon separation of employment.

       7.      In addition, Plaintiff and Collective and Class members were and are required to
work additional time outside of their scheduled shifts to keep up with the demands of the job.

Defendant was and is aware that Plaintiff and Collective and Class members perform this off-the-

clock work, but failed to pay them at the applicable hourly and overtime rates for this work time.

This practice likewise violated and continues to violate the FLSA and Colorado state law.

       8.      Defendant’s conduct violated and continues to violate Colorado’s meal and rest

period statutes, and final pay statute. Because Defendant’s conduct violated and continues to

violate Colorado statutory wage and hour laws, Defendant is liable for the unpaid wages, penalty

wages, and other statutory penalties as provided by Colorado law, attorneys’ fees and costs, as
well as pre- and post-judgment interest.


                                                 -3-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 4 of 26




        9.      Plaintiff files this action to recover on behalf of herself, the Colorado Class, and the

putative Collective members, all unpaid wages, compensation, penalties, and other damages owed

to them under the FLSA and state law, individually, as a 29 U.S.C. § 216(b) collective action, and

as a class action under Federal Rule of Civil Procedure 23, in order to remedy the sweeping

practices which Defendant has integrated into its timekeeping and payroll policies and which has

deprived Plaintiff, Class, and Collective members of their lawfully-earned wages.

                     SUBJECT MATTER JURISDICTION AND VENUE

        10.     This court has federal question jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. § 1331 as this case is brought under the laws of the United States, specifically

the FLSA, 29 U.S.C. § 201, et seq. This Court has supplemental jurisdiction over Plaintiff’s state-

law claims pursuant to 28 U.S.C. § 1367.

        11.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391. The events

giving rise to Plaintiff’s claims occurred within this judicial district. Defendant resides in this

judicial district and are subject to personal jurisdiction here.

                                              PARTIES

        12.     Plaintiff Krystal Gray is an individual over the age of eighteen residing in

Montrose, Colorado. Ms. Gray was employed as a nurse by Defendant in Delta, Colorado from

approximately June 2015 to May 2019.
        13.     The FLSA Collective members are people who are or who have been employed by

Defendant as nurses, nurse aides, nurse assistants, technicians, and other similar hourly and non-

exempt employees in the United States within the three years preceding the filing of this

Complaint.

        14.     The Colorado Class members are all people who are or who have been employed

by Defendant as nurses, nurse aides, nurse assistants, technicians, and other similar hourly and

non-exempt employees in the State of Colorado within the six years preceding the filing of this

Complaint.




                                                  -4-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 5 of 26




        15.    Defendant Delta County Memorial Hospital District is a domestic business with its

principal place of business at 1501 East 3rd Street, Delta, Colorado 81416. Defendant may be

served with process by serving its Chief Executive Officer, Jason Cleckler, at 1501 East 3rd Street,

Delta, Colorado 81416.

        16.    At all material times, Defendant has been an employer within the meaning of the

FLSA under 29 U.S.C. § 203(d).

        17.    At all material times, Defendant has been an enterprise within the meaning of the

FLSA under 29 U.S.C. § 203(r).

        18.    Plaintiff and Collective and Class members were and are employees of Defendant

within the meaning of 29 U.S.C. § 203(e).

        19.    At all material times, Defendant has been an enterprise in commerce or in the

production of goods for commerce within the meaning of § 203(s)(1) of the FLSA because

Defendant has had and continues to have employees engaged in commerce. 29 U.S.C. § 203(s)(1).

        20.    Here, Defendant has had, and continues to have, an annual gross business volume

of not less than $500,000, thereby exceeding the statutory standard. 26 U.S.C. § 203(s)(1)(A)(ii).

        21.    In addition to Plaintiff, Defendant has employed numerous other employees, who

like Plaintiff, are non-exempt workers engaged in interstate commerce. Further, Defendant is

engaged in interstate commerce since it orders supplies across state lines, conducts business deals
with merchants across state lines, and processes patient credit cards with banks in other states.

        22.    At all material times, Plaintiff, Class, and Collective members were and are

employees who engaged in commerce or in the production of goods for commerce as required by

29 U.S.C. § 207.

                                              FACTS

        23.    Defendant is a hospital that provides general medical and surgical care for

inpatients and outpatients.

        24.    Defendant employs dozens of hourly non-exempt workers similarly situated to
Plaintiff.


                                                -5-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 6 of 26




       25.     Defendant employs a payroll policy of not compensating hourly-paid nursing staff

for work performed during their meal periods, subjecting them to interruptions and requiring them

to remain on duty during those meal periods. This policy applies to all hourly-paid, non-exempt

nursing staff who are responsible for patient care.

       26.     Prior to approximately March of 2017, Defendant incorporated a timekeeping

policy of automatically deducting 30 minutes from all hourly, non-exempt employees for meal

periods. After approximately March of 2017, Defendant changed its automatic deduction policy

and required hourly, non-exempt employees to manually clock out for their meal periods. Despite

having to manually clock out, Plaintiff, Class, and Collective members would still remain on

premises, get pulled out of their breaks, or would otherwise be subject to interruption during their

meal breaks. While the mechanics of deducting the meal break hours may have changed after

March 2017, the effect remained the same: non-exempt hourly workers were still subject to

interruption during their unpaid meal breaks.

       27.     In practice, nursing staff involved in patient care are not permitted to take a 30-

minute uninterrupted and bona fide meal or rest break due to the demands of their jobs during the

majority of their shifts. In the rare instances where they attempt a meal or rest break, they remain

on duty in that they are required to respond to calls from their patients, doctors, patients’ families,

other nursing staff and hospital staff, attend to the normal demands of the job, and otherwise
respond to emergencies.

       28.     Plaintiff was employed by Defendant as a non-exempt nurse from between June

2015 through May 2019. Plaintiff’s regular hourly rate of pay was $23.71 per hour during her

employment. As a nurse, Plaintiff’s primary responsibilities included: providing patient care and

monitoring, interacting with other hospital employees and visitors, performing patient intake

services, checking patients out, operating clinic phones to communicate with patients and their

families, scheduling, addressing billing issues, updating doctor schedules, and ordering supplies.

Plaintiff was also required to respond to emergency situations as needed, as any nurse would be
pursuant to their ethical code of conduct. Plaintiff was subjected to Defendant’s time, pay, meal


                                                 -6-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 7 of 26




break, and overtime policies and practices. Plaintiff routinely performed work during her entire

shift, was subject to interruptions during attempted meal and rest breaks, and in fact was

interrupted or denied meal and rest breaks on a regular basis. Plaintiff also performed work while

“off-the-clock” with Defendant’s knowledge and was denied compensation for the time she spent

engaged in this work.

       29.     Plaintiff, Class, and Collective members’ “off-the-clock” work included making

phone calls, cleaning, preparing and organizing equipment, interacting with patients, assisting

other hospital staff, informal meetings with doctors, and performing other various tasks before

clocking in and after clocking out for the day. Plaintiff, Class, and Collective members were not

compensated for this work performed outside of their recorded hours.

       30.     Class and Collective members were and are employed by Defendant and performed

work materially similar to Plaintiff.

       31.     Plaintiff, Class, and Collective members reported to a hospital or clinical facility

owned, operated, or managed by Defendant to perform their jobs.

       32.     Plaintiff, Class, and Collective members performed their jobs under Defendant’s

supervision and using materials and technology approved and supplied by Defendant.

       33.     Plaintiff, Class, and Collective members were required to follow and abide by

common work, time, pay, meal and rest break, and overtime policies and procedures in the
performance of their jobs.

       34.     At the end of each pay period, Plaintiff, Class, and Collective members received

wages from Defendant that were determined by common systems and methods that Defendant

selected and controlled.

       35.     Defendant paid Plaintiff, Class, and Collective members on an hourly rate basis.

       36.     Plaintiff worked more than forty hours in at least one workweek during the six years

before this Complaint was filed.




                                               -7-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 8 of 26




       37.     Each Collective member worked more than forty hours in at least one workweek

during the three years before this Complaint was filed. On average, Plaintiff worked 45-50 hours

per week.

       38.     Each Class member worked more than forty hours in at least one workweek during

the six years before this Complaint was filed.

       39.     When Plaintiff, Class, and Collective members worked more than forty hours in a

workweek, Defendant did not pay them one and one-half times their regular hourly rate for all

hours worked due to their failure to include time worked during meal periods, rest breaks, and

“off-the-clock” work in the total hours worked in a given work week. This unpaid time is

compensable under the FLSA and Colorado law because (1) Plaintiff, Class, and Collective

members were not completely relieved of their duties, (2) they were interrupted or subject to

interruptions with work duties during any attempted meal period and/or rest break, (3) they entirely

skipped the meal and rest periods due to work demands, and (4) they performed work before

clocking in and after clocking out for the benefit of Defendant and with Defendant’s constructive

knowledge.

       40.     Throughout the relevant time period, Defendant expected and required Plaintiff,

Class, and Collective members to be available to work during their entire shifts, even during any

attempted meal or rest breaks. The 30-minute intervals of deducted time for meal periods constitute
compensable time under the FLSA which requires that employers compensate employees for all

time worked. These 30-minute intervals also constitute compensable time under state law because

Colorado Minimum Wage Order No. 35 § 7 requires that employees who have worked at least five

hours are entitled to a meal period of not less than 30 continuous minutes during which the

employee is relieved of all duties. If an employee is not relieved of all duties for 30 continuous

minutes during the meal period, the employer must pay the employee for the time as an “on-duty”

meal period. Id. Further, Colorado Minimum Wage Act No. 35 § 8 requires that every employer

shall provide to each employee, for each segment of four hours or major part thereof worked in a




                                                 -8-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 9 of 26




work period, a rest period of not less than ten continuous minutes during which the employee is

relieved of all duties, without deduction from the employee’s pay.

       41.     Defendant has employed dozens of people similarly situated to Plaintiff during the

six-year period prior to the filing of this Complaint.

       42.     Defendant’s method of paying Plaintiff and Collective and Class members was

willful, and was not based on a good faith and reasonable belief that their conduct complied with

either the FLSA or Colorado law.

                       FLSA COLLECTIVE ACTION ALLEGATIONS

       43.     Plaintiff brings this Complaint as a collective action pursuant to 29 U.S.C. § 216(b)

on behalf of the following class of individuals:
               All current and former hourly, non-exempt employees,
               including but not limited to nurses, nursing aides, nursing
               assistants, technicians, or other employees with similar job
               duties employed by Defendant nationwide during the time
               period three years prior to the filing of the original Complaint
               until resolution of this action (the “Collective”).
       44.     Defendant has not and does not compensate these employees for the unpaid meal

breaks and “off-the-clock” overtime work as described above.

       45.     Per 29 U.S.C. § 216(b), this action may be brought as an “opt-in” collective action

for the claims asserted by Plaintiff because her claims are similar to the claims possessed by the

Collective members.
       46.     Plaintiff has actual knowledge that Collective members have been denied

compensation for time worked, including meal breaks worked or interrupted and “off-the-clock”

work. In addition, Plaintiff has actual knowledge that Collective members have also been denied

overtime pay for this work and would therefore likely join this collective action if provided a notice

of their rights to do so, together with a clear statement that opting to join such an action would not

result in termination or other forms of retaliation.




                                                   -9-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 10 of 26




       47.     Plaintiff is similarly situated to Collective members. Like Plaintiff, Defendant

subjected Collective members to its common practice, policy, or plan of refusing to pay overtime

for all work performed in clear violation of the FLSA.

       48.     Other nursing staff similarly situated to Plaintiff work, or have worked, for

Defendant but were not paid overtime at the rate of one and one-half times their regular hourly

rate when those hours exceeded forty per workweek for meal breaks during which they were not

completely relieved of their duties that were interrupted, interruptible, or entirely missed due to

work demands. Other nursing staff similarly situated to Plaintiff also performed compensable work

while “off-the-clock,” and were not paid overtime at the rate of one and one-half times their regular

hourly rate for those “off-the-clock” hours.

       49.     Although Defendant permitted and/or required Collective members to work in

excess of forty hours per workweek, Defendant has denied them full compensation for their hours

worked over forty for meal breaks that were interrupted due to work demands and for “off-the-

clock” work.

       50.     Collective members perform or have performed the same or similar work as

Plaintiff involving patient care.

       51.     Collective members regularly work or have worked in excess of forty hours during

a workweek.
       52.     Collective members are not exempt from receiving overtime compensation under

the FLSA.

       53.     Defendant’s failure to pay overtime compensation as required by the FLSA resulted

from generally applicable policies and practices, and did not depend on the personal circumstances

of FLSA Collective members.

       54.     Although Plaintiff and Collective members may have different job titles and/or

work in different hospital facilities, this action may be properly maintained as a collective action

on behalf of the defined class because, throughout the relevant time period:




                                                -10-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 11 of 26




               a. Defendant maintained common scheduling systems and policies with respect to

                  Plaintiff and Collective members, controlled the scheduling systems and

                  policies implemented throughout their facilities and retained authority to review

                  and revise or approve the schedules assigned to Plaintiff and Collective

                  members;

               b. Defendant maintained common timekeeping systems and policies with respect

                  to Plaintiff and Collective members;

               c. Defendant maintained common payroll systems and policies with respect to

                  Plaintiff and Collective members, controlled the payroll systems and policies

                  applied to Plaintiff and Collective members, and set the pay rates assigned to

                  Plaintiff and Collective members; and

               d. Defendant controlled the meal break work policies and practices at issue in this

                  litigation and had the ability to deprive Plaintiff and Collective members of

                  wages owed for meal break work they performed.

       55.     The specific job titles or precise job responsibilities of each Collective member

does not prevent collective treatment.

       56.     Collective members, regardless of their particular job requirements, are entitled to

overtime compensation for hours worked in excess of forty during a workweek for interrupted, on-
duty, or missed meal breaks.

       57.     Collective members, regardless of their particular job requirements, are entitled to

overtime compensation for hours worked “off-the-clock” in excess of forty during a workweek.

       58.     Although the exact amount of damages may vary among Collective members, the

damages for Collective members can be easily calculated, summed, and allocated based on a

simple formula.

       59.     Plaintiff and Collective members’ claims arise from a common nucleus of operative

facts; namely, the continued and willful failure of Defendant to comply with its obligation to
legally compensate its employees. Liability is based on a systematic course of wrongful conduct


                                               -11-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 12 of 26




by Defendant that caused harm to all Collective members. Defendant had a plan, policy or practice

of not paying Plaintiff and Collective members for interrupted, interruptible, or missed meal

breaks, as well as work performed “off-the-clock.”

       60.     As such, the class of similarly situated Plaintiffs is properly defined as stated above.

Plaintiff estimates the Collective, including both current and former employees over the relevant

time period, will include upwards of 40 people or more. The precise number of Collective members

should be readily available from Defendant’s personnel, scheduling, time and payroll records, and

from input received from Collective members as part of the notice and “opt-in” process provided

by 29 U.S.C. § 216(b). The names and addresses of the Collective members are discoverable from

Defendant’s records. Given the composition and size of the Class, notice may be provided via First

Class Mail, e-mail, text message, and other modes of notice similar to those customarily used in

representative actions.

                          RULE 23 CLASS ACTION ALLEGATIONS

       61.     Plaintiff brings causes of action as a class action on behalf of herself and all others

similarly situated pursuant to Federal Rule of Civil Procedure 23(a) and (b)(3). The Colorado Class

that Plaintiff seeks to represent is defined as follows:
               All current and former hourly, non-exempt employees,
               including but not limited to nurses, nursing aides, nursing
               assistants, technicians, or other employees with similar job
               duties employed by Defendant in Colorado at any time starting
               six years prior to the filing of this Complaint until resolution of
               this action.
       62.     This action has been brought and may properly be maintained as a class action

because there is a well-defined community of interest in the litigation and the proposed class is

easily ascertainable.

       63.     Numerosity: The potential members of the class are so numerous that joinder of all

the members of the Class is impracticable. Plaintiff is informed and believes that the number of

Colorado Class members exceeds 40. This volume makes bringing the claims of each individual
member of the class before this Court impracticable. Likewise, joining each individual member of


                                                 -12-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 13 of 26




the Colorado Class as a plaintiff in this action is impracticable. Furthermore, the identities of the

Colorado Class will be determined from Defendant’s records, as will the compensation paid to

each of them. As such, a class action is a reasonable and practical means of resolving these claims.

To require individual actions would prejudice the Colorado Class and Defendant.

       64.     Commonality: There are questions of law and fact common to Plaintiff and the

Colorado Class that predominate over any questions affecting only individual members of the

Class. These common questions of law and fact include, but are not limited to:

                       i. Whether Defendant failed to pay Plaintiff and Colorado Class members

                           for all hours worked;

                       ii. Whether Defendant paid Plaintiff and Colorado Class members on an

                           hourly basis;

                      iii. Whether Defendant failed to keep accurate records of employees’ hours

                           of work and wages;

                      iv. Whether Defendant failed to pay Plaintiff and Colorado Class members

                           at an overtime rate for all hours worked in excess of forty in a

                           workweek;

                       v. Whether Defendant failed to authorize and permit Plaintiff and

                           Colorado Class members to take a bona fide and uninterrupted meal
                           break to which they were entitled under Colorado law;

                      vi. Whether Defendant failed to authorize and permit Plaintiff and

                           Colorado Class members to take bona fide and uninterrupted rest breaks

                           to which they were entitled under Colorado law;

                     vii. Whether Defendant failed to compensate Plaintiff and Colorado Class

                           members for work performed off-the-clock at a rate of one and one-half

                           times their regular rate of pay for hours worked in excess of forty in a

                           workweek in violation of Colorado law;




                                                -13-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 14 of 26




                    viii. Whether Defendant failed to provide Plaintiff and Colorado Class

                          members with timely, accurate itemized wage statements in violation of

                          Colorado law;

                     ix. Whether Defendant’s policy and practice of automatic time deductions

                          for meal periods that were not bona fide, continuous, and uninterrupted

                          meal periods violated Colorado law;

                      x. Whether Defendant’s policy and practice of failing to pay Plaintiff and

                          Colorado Class members all wages due upon the end of their

                          employment violated Colorado law;

                     xi. Whether Plaintiff and Colorado Class members are entitled to civil and

                          statutory penalties;

                     xii. Whether Plaintiff and Colorado Class members are entitled to liquidated

                          damages;

                    xiii. The proper formula for calculating restitution, damages and penalties

                          owed to Plaintiff and the Colorado Class as alleged herein; and

                    xiv. Whether Defendant’s actions were “willful” as that term is understood

                          in Colorado wage and hour law.

       65.     Typicality: Plaintiff’s claims are typical of the claims of the Colorado Class.
Defendant’s common course of conduct in violation of law as alleged herein caused Plaintiff and

Colorado Class members to sustain the same or similar injuries and damages. Plaintiff’s claims

are thereby representative of and co-extensive with the claims of the Colorado Class.

       66.     Adequacy of Representation: Plaintiff does not have any conflicts of interest with

other Colorado Class members and will prosecute the case vigorously on behalf of the Colorado

Class. Counsel representing Plaintiff is competent and experienced in litigating complex cases and

large class actions, including wage and hour cases. Plaintiff will fairly and adequately represent

and protect the interests of the Colorado Class members.




                                                 -14-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 15 of 26




       67.     Superiority of Class Action: A class action is superior to other available means for

the fair and efficient adjudication of this controversy. Individual joinder of all proposed Colorado

Class members is not practicable, and questions of law and fact common to the Colorado Class

predominate over any questions affecting only individual members of the Colorado Class. Each

proposed Colorado Class member has been damaged and is entitled to recovery by reason of

Defendant’s illegal policies and/or practices. Class action treatment will allow those similarly

situated persons to litigate their claims in the manner that is most efficient and economical for the

parties and the judicial system.

       68.     In the alternative, the Colorado Class may be certified because the prosecution of

separate actions by the individual members of the Colorado Class would create a risk of

inconsistent or varying adjudication with respect to individual members of the Colorado Class

which would establish incompatible standards of conduct for Defendant.

       69.     If each individual Colorado Class member was required to file an individual

lawsuit, Defendant would necessary gain an unconscionable advantage because Defendant would

be able to exploit and overwhelm the limited resources of each member of the Colorado Class with

Defendant’s vastly superior financial legal resources.

       70.     Requiring each individual Colorado Class member to pursue an individual remedy

would also discourage the assertion of lawful claims by the Colorado Class members who would
be disinclined to pursue these claims against Defendant because of an appreciable and justifiable

fear of retaliation and permanent damage to their lives, careers and well-being.
                                FIRST CLAIM FOR RELIEF
                               VIOLATIONS OF 29 U.S.C. § 207

                                 COUNT ONE
                 FAILURE TO PAY OVERTIME COMPENSATION FOR
                    IMPROPER AUTOMATIC TIME DEDUCTIONS
                          (FLSA COLLECTIVE ACTION)
       71.     Plaintiff incorporates all allegations contained in the foregoing paragraphs.




                                                -15-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 16 of 26




       72.     Plaintiff and Collective members, Defendant’s employees, are similarly situated

individuals within the meaning of the FLSA, 29 U.S.C. § 216(b).

       73.     The FLSA requires each covered employer to compensate all non-exempt

employees at a rate of not less than one and one-half times their regular hourly rate for all hours

worked in excess of forty hours per week.

       74.     Throughout the relevant time period, Defendant expected and required Plaintiff and

Collective members to be available to work and/or to be on duty during their promised meal and

rest breaks. Plaintiff and Collective members also performed work off-the-clock for which they

were not compensated.

       75.     Plaintiff and Collective members have been harmed as a direct and proximate result

of Defendant’s unlawful conduct because they have been deprived of wages owed for work they

performed and from which Defendant derived a direct and substantial benefit.

       76.     Defendant cannot satisfy their burden of proof to demonstrate Plaintiff and

Collective members received a bona fide meal period for every 30 minutes deducted from their

wages automatically.

       77.     Defendant violated and continues to violate the FLSA by failing to pay Plaintiff

and Collective members under 29 U.S.C. § 207 as non-exempt employees. Because of these

violations, Plaintiff and Collective members have suffered a loss of wages.
       78.     Defendant’s failure to pay overtime to Plaintiff and Collective members, in

violation of the FLSA, was willful and not based on a good faith belief that its conduct did not

violate the FLSA. The foregoing conduct, as alleged, constitutes a willful violation of the FLSA

within the meaning of 29 U.S.C. § 255(a). Accordingly, a three-year limitations period should

apply to Plaintiff and Collective members’ claims.

       79.     Because of Defendant’s willful violation, Plaintiff and Collective members are also

due an additional equal amount as liquidated damages pursuant to 29 U.S.C. § 216(b).

       80.     Plaintiff and Collective members are further entitled to reasonable attorneys’ fees
and costs of the action in addition to any judgment awarded.


                                               -16-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 17 of 26




       81.     Wherefore, Plaintiff and the putative collective request relief as hereinafter

provided.
                            COUNT TWO:
 FAILURE TO PAY OVERTIME COMPENSATION FOR “OFF-THE-CLOCK” WORK
                     (FLSA COLLECTIVE ACTION)
       82.     Plaintiff incorporates all allegations contained in the foregoing paragraphs.

       83.     Throughout the relevant time period, Defendant suffered and/or permitted Plaintiff

to work additional time outside of her shift for work-related tasks. These tasks included, but were

not limited to, checking on patients, locating and gathering equipment and supplies, responding to

emergencies, reviewing or completing charting, and cleaning.

       84.     Plaintiff was actively discouraged from logging time outside the parameters set by

Defendant. However, due to the demands of the job, Plaintiff routinely performed work-related

tasks outside of her scheduled shift, before she clocked in and after she clocked out. Upon

information and belief, Defendant treated Collective members similarly with respect to “off-the-

clock” work.

       85.     Accordingly, consistent with the policies and procedures set up by Defendant,

Plaintiff performed work for which she was not compensated. Defendant’s policies and practices

favored Defendant at the expense of Plaintiff and Collective members.

       86.     Defendant violated and continue to violate the FLSA when they failed to pay

Plaintiff and Collective members for “off-the-clock” work under 29 U.S.C. § 207 as a non-exempt
employee. Because of these violations, Plaintiff and Collective members suffered wage losses

during weeks where the total time worked (logged and unlogged) exceeded forty hours.

       87.     Defendant’s failure to pay overtime to Plaintiff and Collective members, was

willful and not based on a good faith belief that their conduct did not violate the FLSA. The

foregoing conduct, as alleged, constitutes a willful violation of the FLSA within the meaning of

29 U.S.C. § 255(a). Accordingly, a three-year limitations period should apply to Plaintiff and

Collective members’ claims.




                                               -17-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 18 of 26




        88.        Because of Defendant’s willful violation, Plaintiff and Collective members are also

due an additional equal amount as liquidated damages pursuant to 29 U.S.C. § 216(b).

        89.        Plaintiff and Collective members are further entitled to reasonable attorneys’ fees

and costs of the action in addition to any judgment awarded.

        90.        Wherefore, Plaintiff and the putative collective request relief as hereinafter

provided.

                          SECOND CLAIM FOR RELIEF
            VIOLATIONS OF COLORADO WAGE CLAIM ACT, § 8-4-101 et seq.
                          FAILURE TO PAY OVERTIME
                          (COLORADO CLASS ACTION)
        91.        Plaintiff incorporates all allegations contained in the foregoing paragraphs.

        92.        At all relevant times, Defendant has been, and continues to be, an “employer”

within the meaning of the Colorado Wage Claim Act (“CWCA”). At all relevant times, Defendant

has employed and continues to employ “employees,” including Plaintiff and the Class Members,

within the meaning of the CWCA.

        93.        Pursuant to Colorado Minimum Wage Act No. 35 § 4, Defendant was required to

pay Plaintiff and Colorado Class members one and one-half times their regular rate of pay for all

hours worked in excess of forty in a given workweek, when those wages were due, but willfully

failed to do so.
        94.        Plaintiff and Colorado Class members are entitled to recover unpaid overtime under

Colorado law, and Plaintiff and Colorado Class members are also entitled to declaratory relief

stating Defendant violated the statute by incorporating the automatic time deduction policy as

described above.

        95.        Defendant enacted a policy and practice that deprived Plaintiff and Colorado Class

members compensation for all hours worked in excess of forty in a workweek, including automatic

time deductions for meal breaks not taken, missed rest breaks, and work duties performed “off-

the-clock.”




                                                   -18-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 19 of 26




       96.     As a result of the foregoing conduct, as alleged, Defendant has failed to pay

overtime wages due under the CWCA and Colorado Minimum Wage Act, see COLO. REV. STAT.

§ 8-4-101 et seq., as implemented by the Minimum Wage Order, thereby violating, and continuing

to violate, the CWCA. These violations were committed knowingly, willfully and with reckless

disregard of applicable law.

       97.     Plaintiff and Colorado Class members further seek declaratory relief stating

Defendant has violated and are in violation of Colorado Minimum Wage Act No. 35 § 4 for failing

to compensate Plaintiff for overtime work performed for the benefit of Defendant.

       98.     As a result, Plaintiff has been damaged in an amount to be determined at trial.

Plaintiff, on behalf of herself and the Class Members, hereby demands payment as contemplated

by the CWCA in an amount sufficient to reimburse Plaintiff and the Colorado Class Members for

all unpaid overtime wages

       99.     Wherefore, Plaintiff and the putative class request relief as hereinafter provided.
                         THIRD CLAIM FOR RELIEF
          VIOLATIONS OF COLORADO WAGE CLAIM ACT, § 8-4-101, et seq.
          FAILURE TO PAY MINIMUM WAGE FOR ALL HOURS WORKED
                        (COLORADO CLASS ACTION)
       100.    Plaintiff incorporates all allegations contained in the foregoing paragraphs.

       101.    Under Colorado Minimum Wage Order No. 35 § 3, employers must pay employees

all wages to which they are entitled under the Minimum Wage Act. If the employer fails to do so,

Colorado Minimum Wage Order No. 35 § 18 entitles employees to recover in a civil action the

unpaid balance of the full amount of such minimum wage, together with reasonable attorney fees

and court costs.

       102.    As described above, Defendant enacted a policy and practice that deprived Plaintiff

and Colorado Class members compensation for all hours worked, including automatic time

deductions for meal breaks not taken, missed rest breaks, and work duties performed “off-the-

clock.” As a result, Defendant failed to pay Plaintiff and Colorado Class members all regular, non-




                                               -19-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 20 of 26




overtime wages due in violation of the Colorado Minimum Wage Order No. 35 § 3 during weeks

when Plaintiff and the Class members did not work in excess of forty in a workweek.

       103.    Wherefore, Plaintiff and the putative class request relief as hereinafter provided.
                      FOURTH CLAIM FOR RELIEF
             VIOLATIONS OF COLORADO REV. STAT. § 8-4-109
   FAILURE TO PAY ALL WAGES DUE UPON SEPARATION OF EMPLOYMENT
                      (COLORADO CLASS ACTION)
       104.    Plaintiff incorporates all allegations contained in the foregoing paragraphs.

       105.    Colorado Revised Statute § 8-4-109 requires that, “[w]hen an interruption in the

employer-employee relationship occurs, the wages or compensation for labor or services earned,
vested, determinable, and unpaid at the time of such discharge is due and payable immediately.”

See COLO. REV. STAT. § 8-4-109(1)(a).

       106.    Colorado Revised Statute § 8-4-109 states that, “if an employee’s earned, vested,

and determinable wages or compensation is not paid within fourteen days after the written demand

is sent in the manner set forth in paragraph (d) of this subsection (3), the employer shall be liable

to the employee for the wages or compensation, and a penalty of the sum of the following amounts

of wages or compensation due or, if greater, the employee’s average daily earnings for each day,

not to exceed ten days, until such a payment or other settlement satisfactory to the employee is

made: (I) One hundred twenty-five percent of that amount of such wages of compensation up to

and including seven thousand five hundred dollars; and (II) Fifty percent of that amount of such

wages or compensation that exceed seven thousand five hundred dollars.” Id. § 8-4-109(3)(b). “If

the employee can show that the employer’s failure to pay is willful, the penalty required under

paragraph (b) of this subsection (3) shall be increased by fifty percent.” Id. § 8-4-109(3)(c).

       107.    Pursuant to Colorado Revised Statute § 8-4-109, a six-year statute of limitations is

applied for liability of unpaid regular wages. See, e.g., Sobolewsky v. Boselli & Sons, LLC, 342 F.

Supp. 3d 1178, 1187-88 (D. Colo. 2018) (citing COLO. REV. STAT. § 13-80-103.5(1)(a));

Portercare Adventist Health Sys. v. Lego, 286 P.3d 525, 528 (Colo. 2012); Interbank Investments,




                                                -20-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 21 of 26




L.L.C. v. Vail Valley Consol. Water Dist., 12 P.3d 1224, 1230 (Colo. App. 2000) (applying six-

year statute of limitations where dispute was over amount of compensation owed).

       108.    As described above, Defendant enacted a policy that deprived Plaintiff and

Colorado Class members compensation for all hours worked, including automatic time deductions

and work duties performed “off-the-clock.” As a result, Defendant failed to pay Plaintiff and

Colorado Class members all wages due and owing after separation from employment in violation

of Colorado Revised Statute § 8-4-109.

       109.    In failing to pay all wages due upon separation of employment, Defendant acted as

a free agent, determined its own actions, was not responsible to, nor coerced by any other person,

entity or authority. Defendant knew that Plaintiff and Colorado Class members had ended and

possessed information regarding the hours worked and amount of wages due Plaintiff and

Colorado Class members at the date of termination. Defendant was capable of paying all wages

earned and due at termination.

       110.    Defendant’s failure to make payment of Plaintiff’s and Colorado Class members’

final wages when due was willful and continued for not less than 30 days.

       111.    On July 18, 2019, Plaintiff’s attorney sent written notice of the wage claim to

Defendant. Defendant has failed to pay all wages due.

       112.    Because of Defendant’s failure to make payment of final wages when due, Plaintiff
is due statutory penalty wages of not less than $2,133.90,2 pursuant to Colorado Revised Statute §

8-4-109, for the continuation of Plaintiff’s unpaid final wages for not less than 30 days. Likewise,

Colorado Class members who ended their employment but were not fully compensated their total

wages due and owing are likewise due statutory penalty wages pursuant to Colorado Revised

Statute § 8-4-109.

       113.    Plaintiff and Colorado Class members seek statutory wages pursuant to Colorado

Revised Statute § 8-4-109; plus costs, disbursements and attorney fees.

 2
  Plaintiff’s regular hourly rate of $23.71, multiplied by 9 hours per Colorado Revised Statute §
 8-4-109, multiplied by the maximum 10 days.


                                               -21-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 22 of 26




       114.    Wherefore, Plaintiff and the putative class request relief as hereinafter provided.
                           FIFTH CLAIM FOR RELIEF
                 VIOLATIONS OF MINIMUM WAGE ORDER NO. 35 § 7
                           MEAL BREAK VIOLATIONS
                          (COLORADO CLASS ACTION)
       115.    Plaintiff incorporates all allegations contained in the foregoing paragraphs.

       116.    Colorado Minimum Wage Order No. 35 § 7 regulates wages, hours, working

conditions and procedures for certain employers and employees for work performed within

Colorado in four specific industries, including the health and medical industry. The health and

medical industry is defined under Wage Order No. 35 to include hospitals, and includes any
employee who is engaged in the performance of work connected with or incidental to such business

or enterprise, including office personnel.

       117.    Pursuant to Colorado Minimum Wage Order No. 35 § 7, employees who have

worked at least five hours are entitled to a meal period of at least 30 continuous minutes during

which the employee is relieved of all duties. When uninterrupted meal periods are impractical,

employees are permitted “on-duty” meals while performing their duties. Employees shall be fully

compensated for “on-duty” meal periods without any loss of time or compensation See 7 CCR

1103-1 § 7.

       118.    Defendant implemented a policy that automatically deducted 30-minutes from

Plaintiff and Colorado Class members’ time for each shift worked, even though Plaintiff and

Colorado Class members were still on-duty, subject to interruption, and often were interrupted

during their meal breaks.

       119.    Because Plaintiff and Colorado Class members’ meal breaks were subject to

interruption, were on duty, were not continuous, and were not relieved of all duties during the

break, Defendant’s automatic time deduction for meal periods was and is in violation of Minimum

Wage Order No. 35 § 7, and Plaintiff and Colorado Class members should be reimbursed for back

wages for the entire 30 minutes from each work day.




                                               -22-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 23 of 26




       120.     Plaintiff is entitled to declaratory relief that Defendant’s past and ongoing

automatic time deduction policy violated and is in violation of the Colorado meal break

requirements.

       121.     Plaintiff and Colorado Class members are entitled to recover unpaid wages at their

regular hourly rate for the 30 minutes that were automatically deducted by Defendant for each

work period where that deduction took place.

       122.     Wherefore, Plaintiff and the putative class request relief as hereinafter provided.
                           SIXTH CLAIM FOR RELIEF
                  VIOLATION OF MINIMUM WAGE ORDER NO. 35 § 8
                           REST PERIOD VIOLATIONS
                          (COLORADO CLASS ACTION)
       123.     Plaintiff incorporates all allegations contained in the foregoing paragraphs.

       124.     Pursuant to Colorado Minimum Wage Order No. 35 § 8, every employer is required

to provide each employee, for each segment of four hours of work, a compensated rest period of

not less than ten continuous minutes during which the employee is relieved of all duties, without

deduction from the employee’s pay. See 7 CCR 1103-1 § 8.

       125.     Plaintiff generally worked shifts lasting 9 to 10 hours per shift. Colorado Class

members worked similar shifts. Accordingly, Plaintiff and Colorado Class members were entitled

to two separate rest periods lasting 10 minutes each during which Plaintiff and Colorado Class
members should have been compensated and relieved of all duties. As discussed above, Plaintiff

and Colorado Class members are subject to interruption and are consistently denied requisite rest

periods.

       126.     Plaintiff and Colorado Class members are entitled to compensation for all missed

rest periods in violation of the rest break requirements provided by Colorado law. See

Sanchez v. Front Range Transportation, No. 17-cv-00579-RBJ, 2017 WL 4099896, at *4 (D. Colo.

Sept. 15, 2017) (“[B]ecause she was (allegedly) denied reasonable rest periods [under Colorado

law], for which she would have been paid, she effectively provided the equivalent number of




                                                -23-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 24 of 26




minutes of work to [defendant] without additional compensation.”); Lozoya v. AllPhase Landscape

Construction, Inc., No. 12-cv-1048-JLK, 2015 WL 1757080, at *2 (D. Colo. Apr. 15, 2015).

       127.    Wherefore, Plaintiff and the putative class request relief as hereinafter provided.

                                       RELIEF SOUGHT

       128.    Plaintiff and Collective and Class members are entitled to recover their unpaid

overtime wage compensation.

       129.    Plaintiff and Collective members are also entitled to an amount equal to all of their

unpaid wages due under the FLSA as liquidated damages. 29 U.S.C. § 216(b).

       130.    Plaintiff and Collective members are entitled to recover attorneys’ fees and costs as

required by the FLSA. 29 U.S.C. § 216(b).

       131.    Plaintiff and Collective members are entitled to declaratory relief stating

Defendant’s policies and practices as described herein are unlawful and in violation of the FLSA.

       132.    Plaintiff and Colorado Class members are entitled to recover back wages for

overtime pay at one-and-one-half times their regular rates of pay for their missed meal breaks, rest

periods, and off-the-clock worked for each day worked during a workweek in which they worked

more than 40 hours in a workweek.

       133.    Plaintiff and Colorado Class members are entitled to recover back wages for meal

period violations for 30 minutes at their regular hourly rate of pay for each day worked during a
workweek in which they worked fewer than 40 hours in a workweek.

       134.    Plaintiff and Colorado Class members are entitled to recover back wages for rest

break violations for 20 minutes at their regular hourly rate of pay for each day worked during a

workweek in which they worked fewer than 40 hours in a workweek.

       135.    Plaintiff and Colorado Class members are entitled to statutory penalty wages

pursuant to Colorado Revised Statute § 8-4-109, for the continuation of Plaintiff’s and Colorado

Class members’ unpaid final wages for not less than 10 days for Defendant’s violations of

Colorado Revised Statute § 8-4-109 (payment of wages upon termination of employment).




                                               -24-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 25 of 26




       136.    Plaintiff and Colorado Class members are entitled to recover costs and a reasonable

sum for attorney fees, pursuant to Colorado Revised Statute § 8-4-110.

       137.    Plaintiff and Colorado Class members are entitled to declaratory relief stating

Defendant’s actions as described herein were and are unlawful.

                                            PRAYER

       138.    For these reasons, Plaintiff, Class, and Collective members respectfully request that

judgment be entered in their favor awarding the following relief:

                       i. An order preventing Defendant from retaliating in any way against

                          Plaintiff and any Class member who joins or elects not to opt-out of the

                          present suit based on their pursuit of these claims alleged herein;

                      ii. An order designating this action as a collective action on behalf of the

                          Collective and issuance of notice pursuant to 29 U.S.C. § 216(b) to all

                          similarly situated individuals;

                     iii. An order finding that Defendant violated the FLSA;

                      iv. An order finding that Defendant violated the FLSA willfully;

                      v. All unpaid wages due under the FLSA;

                      vi. An equal amount as liquidated damages as allowed under the FLSA;

                     vii. Reasonable attorneys’ fees, costs, and expenses of this action as
                          provided by the FLSA;

                    viii. An order certifying this case as a Class Action under Rule 23 of the

                          Federal Rules of Civil Procedure;

                      ix. An order finding that Defendant violated Colorado law;

                      x. All unpaid regular wages due under Colorado law to the extent same

                          does not duplicate regular wages due under the FLSA;

                      xi. All unpaid overtime wages due under Colorado law to the extent same

                          does not duplicate overtime wages due under the FLSA;
                     xii. All statutory penalty wages due under Colorado law;


                                               -25-
Case 1:19-cv-02938-RBJ Document 1 Filed 10/15/19 USDC Colorado Page 26 of 26




                   xiii. All attorneys’ fees, costs and disbursements as provided by Colorado

                          law to the extent same does not duplicate fees due under the FLSA;

                   xiv. For an order awarding Plaintiff, Class, and Collective members pre- and

                          post-judgment interest at the highest rates allowed by law;

                   xv. Such other and further relief to which Plaintiff, Class, and Collective

                          members may be entitled at law or in equity.



Dated: October 15, 2019                         SCHNEIDER WALLACE COTTRELL
                                                KONECKY WOTKYNS LLP


                                                /s/ Carolyn H. Cottrell
                                                Carolyn H. Cottrell
                                                ccottrell@schneiderwallace.com
                                                California Bar No. 166977
                                                David C. Leimbach
                                                dleimbach@schneiderwallace.com
                                                California Bar No. 265409
                                                2000 Powell Street, Suite 1400
                                                Emeryville, California 94608
                                                Tel: (415) 421-7100
                                                Fax: (415) 421-7105

                                                William M. Hogg
                                                whogg@schneiderwallace.com
                                                Texas Bar No. 24087733
                                                3700 Buffalo Speedway, Suite 960
                                                Houston, Texas 77098
                                                Tel: (713) 338-2560
                                                Fax: (415) 421-7105

                                                Attorneys for Plaintiff, Class, and Collective
                                                Members




                                              -26-
